107 F.3d 865
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Julian FORD, Jr., Plaintiff-Appellant,v.Ann GASTON, Deputy Warden;  Ronald Elliott, Doctor;  WillieBing, Correctional Officer, in their individualand official capacities, Defendants-Appellees,andSouth Carolina Department of Corrections, in individual andofficial capacity;  Clayton Clark, in individualand official capacity, Defendants.
    No. 96-7596.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 13, 1997.Decided Feb. 27, 1997.
    
      Julian Ford, Jr., Appellant Pro Se.
      Alexandria Skinner, SOUTH CAROLINA BUDGET AND CONTROL BOARD, Columbia, SC, for Appellees.
      Before WIDENER and HAMILTON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Ford v. Gaston, No. CA-95-1299-3-18BC (D.S.C. Sept. 27, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    